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                                      UNITED STATES DISTRICT COURT
                                      DISTRICT OF MASSACHUSETTS


Mt. Vernon Fire Ins. Co., Plaintiff

                                                    V.               CIVIL ACTION NO. 1:19-cv-12210-DJC

Markko Enterprises and Amica, Defendants



                                     REPORT RE: REFERENCE FOR
                                  ALTERNATIVE DISPUTE RESOLUTION

                                               To Judge Casper

[ ]     The parties reported this case as settled prior to the mediation

[ ]     On         1/11/2021                                    I held the following ADR proceeding:

        _______           SCREENING CONFERENCE                ______ EARLY NEUTRAL EVALUATION
        __X_____ MEDIATION ______ SUMMARY BENCH / JURY TRIAL _______ MINI-TRIAL
        ______ SETTLEMENT CONFERENCE


        All parties were represented by counsel [except                                     ]
        The parties were / were not present in person or by authorized corporate officer [except
        ___________________________________].
        The case was:



[X]     Settled. A Settlement Order may issue.

[]      This case did not settle. Please return to the trial list.

[ ]     Counsel notified the court that this case is not ripe for mediation at this time.




        1/11/2021                                                     EDWARD F. HARRINGTON, SDJ
        DATE                                                            ADR Provider
